
72 So. 3d 824 (2011)
In re Philip J. SHAHEEN, Jr.
No. 2011-B-1329.
Supreme Court of Louisiana.
October 7, 2011.

ATTORNEY DISCIPLINARY PROCEEDINGS
PER CURIAM.[*]
The Office of Disciplinary Counsel seeks review of a recommendation of the disciplinary board that the formal charges against respondent, Philip J. Shaheen, Jr., be dismissed. Having reviewed the record and the briefs of the parties, we find the *825 disciplinary board reached the correct result in dismissing the formal charges.
Accordingly, it is the judgment of this court that the formal charges against respondent be dismissed.
NOTES
[*]  Chief Justice Kimball not participating in the opinion.

